69 F.3d 533
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Hudean HOWARD, Petitioner,v.CLINCHFIELD COAL COMPANY;  Director, Office of Workers'Compensation Programs, United States Department ofLabor, Respondents.
    No. 94-1488.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 27, 1995.Decided Nov. 9, 1995.
    
      On Petition for Review of an Order of the Benefits Review Board.  (BRB No. 93-0700-BLA)
      Hudean Howard, Petitioner Pro Se.  Harry Ashby Dickerson, PENN, STUART, ESKRIDGE &amp; JONES, Abingdon, Virginia;  Patricia May Nece, Barry H. Joyner, UNITED STATES DEPARTMENT OF LABOR, Washington, D.C., for Respondents.
      Ben.Rev.Bd.
      AFFIRMED.
      Before WIDENER, NIEMEYER and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1995).  Our review of the record discloses that the Board's decision is based upon substantial evidence and is without reversible error.  Accordingly, we affirm on the reasoning of the Board.  Howard v. Clinchfield Coal Co., No. 93-0700-BLA (B.R.B. Mar. 31, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    